         Case 1:21-cv-08824-PAE Document 116 Filed 05/13/22 Page 1 of 1




                                                                May 13, 2022
VIA ECF
Hon. Paul A. Engelmayer
United States District Court Judge
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007
                        Re:     Black v. Ganieva et. al, 21 Civ. 8824
Dear Judge Engelmayer:

       We represent defendant Guzel Ganieva. At the initial conference on March 10, 2022, the
Court asked several questions about the status of Ms. Ganieva’s state court action against Mr.
Black, Ganieva v. Black, Index. No. 155262/2021 (Sup. Ct. N.Y. Cnty.), and the parties noted
there were several motions in that action that were fully briefed and awaiting decision. ECF No.
98 at 11-18. As a follow up to that discussion, on May 6, 2022, Justice David Cohen issued the
attached Decision and Order: 1) denying Mr. Black’s motion to strike allegations from Ms.
Ganieva’s amended complaint; 2) granting Ms. Ganieva’s motion to file a second amended
complaint; and 3) granting Mr. Black’s motion for a confidentiality order.
       I also understand that the parties in the state court action are scheduled to appear for a status
conference on May 25, 2022, at which we expect the Court will set a revised discovery schedule.

       We are available to answer any questions that the Court may have about the above.
                                                       Respectfully submitted,



                                                       Kevin Mintzer



Attachment
cc: All Counsel of Record (via ECF)
